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November 23, 2016




Nicole C. Leet, Attorney at Law
Gray, Rust, St. Amand, Moffett & Brieske, LLP
1700 Atlanta Plaza
950 East Paces Ferry Road
Atlanta, GA 30326


      Re:    Case No. 16EV002390; Alan E. Robles, Plaintiff vs. QuikTrip Corporation,
             Defendants; In the State Court of Fulton County, State of Georgia


Ms. Leet:

Please find attached my report in the above referenced matter. This report may be
supplemented as additional discovery is made available and other case activity is
completed.


Respectfully submitted,




Karim H. Vellani, CPP, CSC




                  P.O. Box 16640   Sugar Land, TX 77496   (281) 494-1515
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QUALIFICATIONS

Karim H. Vellani is the President of Threat Analysis Group, LLC, an independent security
consulting firm. Karim is Board Certified in Security Management (CPP), a Board
Certified Security Consultant (CSC), has over 22 years of security management and
forensic security consulting experience, and has a Master’s Degree in Criminal Justice
Management. He is the author of two books, Applied Crime Analysis and Strategic
Security Management, and has contributed to a number of other security related books
and journals.

As an independent security management consultant, Karim has been retained by Fortune
500 companies and government agencies. He has extensive experience in risk
management and security force protection and provides consultation on a regular basis
at government, commercial, and residential facilities across the nation. Karim has worked
on projects ranging from data centers, hospitals and healthcare facilities, manufacturing
facilities, financial institutions, retailer stores, shopping centers and malls, hotels and
motels, office buildings, and residential housing (including Section 8).

For 11 years, Karim was responsible for managing the quality control/assurance function
for United States Department of Homeland Security’s (DHS) protection force at federal
government buildings in 23 states including Mississippi, Alabama, West Virginia,
California, Montana, North Dakota, South Dakota, Wyoming, Utah, Nevada, North
Carolina, Tennessee, Arizona, Kentucky, Illinois, Washington, Idaho, Texas, Oklahoma,
Florida, South Carolina, Rhode Island, and Massachusetts.

Karim specializes in crime analysis and security risk assessment and mitigation. He
developed a crime analysis methodology that utilizes the Federal Bureau of
Investigation’s (FBI) Uniform Crime Report coding system and a proprietary software
application called CrimeAnalysisTM. The software allows end users to identify specific
threats, select appropriate countermeasures, and reduce their risk. The methodology
was published in Applied Crime Analysis. Since developing the crime analysis
methodology, Karim has assessed crime threats at thousands of facilities. Karim has also
developed a Security Risk Assessment Methodology for Healthcare Facilities and
Hospitals. In 2009, the International Association of Healthcare Security and Safety
(IAHSS) published its Security Risk Assessment Guideline, which was authored by Karim
at the request of IAHSS. He is also a Technical Committee Member on the Risk
Assessment Standard Development Committee for the American Society for Industrial
Security - International (ASIS).

As an Adjunct Professor at the University of Houston - Downtown, Karim taught graduate
courses in Security Management and Risk Analysis for the College of Criminal Justice’s
Security Management Program. He has also trained Police and Security Officers in
weapons and use of deadly force and profiling and assisted in the development of
maritime security training curriculum compliant with ISPS Code and the United States


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Coast Guard under the Maritime Transportation Security Act. Annually, Karim instructs
for the International Association of Professional Security Consultants and ASIS-
International.

Karim is a member of the International Association for Healthcare Security & Safety
(IAHSS), the International Association of Professional Security Consultants (IAPSC),
ASIS-International, the American Society of Criminology (ASC), and the International
Association of Crime Analysts (IACA). He is a Past President of the IAPSC.


MATERIALS REVIEWED

In arriving at the opinions discussed in this report, I reviewed and/or relied upon the
materials listed below:

1. Pleadings (Petition/Complaints and Answers)

2. Various Discovery (Rogs, RFP, RFA, etc.) produced by Plaintiffs

3. Various Discovery (Rogs, RFP, RFA, etc.) produced by Defendants including video
   surveillance and documents Bates stamped QT 0004-0045

4. Clayton County Police Department Crime Records for 93 Upper Riverdale Road

5. Deposition of Alan E. Robles

6. Expert Report and Exhibits of John Villines

In addition to reviewing the materials above, I also spoke with the Clayton County Police
Department regarding police response times.




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BACKGROUND

The subject incident is an aggravated assault on Alan E. Robles (subject incident) which
occurred at a QuikTrip located at 93 Upper Riverdale Road in Clayton County, GA. The
subject incident occurred on Sunday, September 6, 2015 at approximately 11:00pm.
Based on video surveillance of the scene and the Clayton County Police Incident Report
(Number 15060438), the subject incident was an interpersonal, non-stranger crime.


CRIME ANALYSIS

The subject property’s crime risk was evaluated using four factors - similarity, frequency,
recency, and proximity. These factors were considered with additional guidance from
industry accepted practices and government sources.

The International Association of Professional Security Consultants (IAPSC) Forensic
Methodology is a peer-reviewed and consensus-based guideline promulgated by a
recognized security industry association. The IAPSC Forensic Methodology addresses
both time (recency) and distance (proximity) in assessing the crime impact at a property,
specifically:

      Relevant crimes on the premises (three to five years prior to the date of the
       incident)

      Relevant crimes in the immediate vicinity of the facility (three to five years prior to
       the date of the incident) as defined by and deemed relevant by the security expert

The United States Department of Justice, specifically the Federal Bureau of Investigation
and the Bureau of Justice Statistics, guide the assessment of crime similarity and
frequency. The Federal Bureau of Investigation (FBI) collects crime data and codifies
them using the Uniform Crime Report (UCR) methodology. The UCR categories include
violent crimes, property crimes, and Part 2 crimes. In this instance where the crime in
question is an aggravated assault, crimes of a similar nature include violent crimes and
crimes against persons as defined by the Federal Bureau of Investigation. Violent crimes,
as defined by the Federal Bureau of Investigation, include murder, rape, robbery, and
aggravated assault. Crimes against persons include murder, rape, aggravated assault,
and assault.

Property crimes are dissimilar to violent crimes. Property crimes, as defined by the
Federal Bureau of Investigation, include burglary, theft, auto theft, and arson. Property
crimes are not typically used to assess the risk of violent crime at a subject property.
Research has shown that property crimes escalate into violent crimes at a low rate.
Further, when assessing violent crime risk retrospectively, as is the case here, including
property crimes is inappropriate if the objective is to assess similar crimes. As a


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retrospective crime analysis, historical law enforcement data is utilized. Any property
crime which escalated into violence is counted as a violent crime. Similarly, non-crimes
(e.g. found person) and UCR Part 2 Crimes (e.g. criminal mischief) should not be included
in the violent crime risk analysis.

When assessing the crime risk of a place, it is important to distinguish crimes which pose
a threat to the general users of the place versus those that pose a risk to specific
individuals. The Bureau of Justice Statistics1 defines two types of crime categories based
on the relationship of the offender and victim:

         "Stranger" (also known as “Stranger-Initiated”) is a classification of the victim's
          relationship to the offender for crimes involving direct contact between the two.
          Incidents are classified as involving strangers if the victim identifies the offender
          as a stranger, did not see or recognize the offender, or knew the offender only by
          sight. Crimes involving multiple offenders are classified as involving non-strangers
          if any of the offenders was a non-stranger. Since victims of theft without contact
          rarely see the offender, no distinction is made between strangers and non-
          strangers for the crime.

         "Non-Stranger" (also known as “Interpersonal”) is a classification of a crime victim's
          relationship to the offender. An offender who is either related to, well known to, or
          casually acquainted with the victim is a non-stranger. For crimes with more than
          one offender, if any of the offenders are non-strangers, then the group of offenders
          as a whole is classified as non-stranger. This category only applies to crimes which
          involve contact between the victim and the offender; the distinction is not made for
          crimes of theft since victims of this offense rarely see the offenders.

When assessing similarity of crimes, only prior stranger violent crimes should be
analyzed for purposes of identifying the general crime risk at a subject property.
Frequency may be measured in different ways, including identification of crime patterns
and calculations of crime rates:

         Crime Pattern - two or more incidents related by a common causal factor, usually
          to do with the offender, location, or target. Patterns are usually, but not always,
          short term phenomena (International Association of Crime Analysts (2009).
          Exploring Crime Analysis, Second Edition. Overland Park: International
          Association of Crime Analysts.).

         Crime Rate - the ratio of crimes in an area to the population of that area. Crime
          rates are typically expressed per 1,000 population per year. A crime rate provides
          context to a crime volume.


1   http://www.bjs.gov/index.cfm?ty=tp&tid=941 accessed November 16, 2016.


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Depending on the police jurisdiction that serves the subject property, different types of
crime records may be available. The most common type of crime record used in a crime
risk analysis is Calls for Service or dispatch logs. It is important to note that Calls for
Service or dispatch log accuracy varies by jurisdiction. Further, changes to incident
management and dispatch systems may also impact accuracy even within the same
jurisdiction. When assessing crime risk, Calls for Service and dispatch logs should not
be used alone. Offense/Incident Reports are necessary to validate the Calls for Service
or dispatch logs, specifically the crime type, crime location, and whether a crime actually
occurred. Calls for service or dispatch logs alone, in many jurisdictions, are insufficient
for these three elements.

In this instance, the Clayton County Police Department (CCPD), Clayton County Police
Incident Reports were used for this crime analysis. CCPD records for violent crimes and
assaults for January 1, 2012 to September 5, 2015 (day prior to the subject incident) are
summarized in the table below. The table includes counts for each violent crime (red)
and assault (blue) and individual counts for Stranger and Non-Stranger2 violent crimes
and assaults.

           UCR                                                           Non-
           Code     Uniform Crime Report (UCR) Name        Stranger    Stranger     Total
            1      Murder                                      0           0         0
            2      Rape                                        0           0         0
            3      Robbery                                     8           0         8
            4      Aggravated Assault                          0           1         1
            9      Other Assaults                              0           1         1

When assessing the crime risk of a place, it is important to distinguish crimes which pose
a threat to the general users of the place versus those that pose a risk to specific
individuals. Stranger vs. Non-Stranger violent crimes and assaults were distinguished
using HPD Offense Reports. Where the victim-offender relationship for a particular
violent crime and assault was not known, the crime was counted as a Stranger crime.3
Non-Stranger crimes are more difficult to prevent than Stranger crimes and typical
security measures are not often effective. Security programs are usually not designed to
deter or prevent Non-Stranger crimes. As such, the remainder of this assessment is
focused primarily on Stranger crimes.

The table below summarizes the ten Stranger violent crimes at the subject property from
January 1, 2012 to September 5, 2015 (day prior to the subject incident).

    Report #    Crime       Date     Time                       Comments
    12000025   Robbery   1/1/2012    1:28   Armed suspect approached victim and demanded money


2Crimes were presumed to be “Stranger” unless clearly “Non-Stranger” based on the Offense Reports.
3The complete Police Offense Report, including non-public sections, may indicate that some of these
crimes were in fact Non-Stranger crimes.


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                                           Suspects detained at another location were found to have
 12069437   Robbery   11/6/2012    13:47   taken a victim's cell phone by intimidation at the QuikTrip
                                           Suspect snatched employee's purse from behind the
 13002455   Robbery   1/12/2013    3:37    counter, then took beverage items from outside
                                           Armed suspect demanded money from the register, then
 13018815   Robbery   4/1/2013     2:28    fled
                                           Armed suspect demanded money from the register, then
 14040232   Robbery   7/14/2014    3:52    fled
                                           Victim was approached and struck by suspects who he
                                           recognized from a high school but didn't know their
                                           names; suspects took his food purchase and went
 14041895   Robbery   7/21/2014    20:52   through his pockets, then fled
                                           Suspects approached on bikes and demanded victim
 14045137   Robbery   8/5/2014     0:00    empty his pockets, victim refused and suspect fled
                                           Victim stated a male approached and aggressively
                                           snatched her phone while she was talking on it, then got
 14063060   Robbery   10/20/2014   1:15    into a vehicle and fled

None of the incidents above involved major injuries. As seen in the table, no stranger
violent crimes occurred at the subject property in more than eight months prior to the
subject incident. The subject incident occurred on a Sunday at approximately 11pm
(2000-2359 time block). The graphs below display the temporal pattern of stranger
crimes at the QuikTrip.


                       Stranger Violent Crime by Day of Week
                                  1/1/12 - 9/5/15

               4




                           2


                                                                            1            1
                                                   0
             Monday     Tuesday    Wednesday    Thursday      Friday     Saturday      Sunday




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                         Stranger Violent Crime by Time Period
                                    1/1/12 - 9/5/15
                6




                                                       1                        1

             0000-0359    0400-0759    0800-1159   1200-1559    1600-1959    2000-2359




SECURITY

QuikTrip had extensive policies which address security, safety, security systems,
accidents, alarm activation, and other related topics. QuikTrip’s policies also addressed
specific crime threats including robbery, shoplifting, gas theft, fights, and property
damage. At the time of the subject incident, the QuikTrip had extensive video surveillance
of the property with at least 18 cameras providing views inside and outside the store. The
QuikTrip was staffed with at least employees at the time of the subject incident.

Based on deposition testimony by Mr. Robles, he was aware that a member of his group
had a gun at approximately 11:02:53pm, at least two and one-half minutes prior to the
shooting. Based on both the deposition testimony and the video surveillance, Mr. Robles
did not attempt to leave the scene.

Audio available from the video surveillance system (camera labeled Pos 1_2) indicates
that QuikTrip became aware of an issue outside the store at 11:05:30pm (23:05.30 hours)
and called the police approximately 10 seconds later. There is no indication from the
video surveillance or other discovery that any suspicious activity was known to QuikTrip
prior to the gunshots.


OPINION(S)

1. A pattern of crimes, similar to the subject incident, did not exist at the QuikTrip.


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2. The subject property had a low risk of violent crime.

3. The subject incident was an interpersonal, non-stranger dispute that resulted in the
   shooting of Alan E. Robles by an individual known to him or known to his family.

4. Mr. Robles chose to remain at the scene despite his knowledge that a gun was
   present, despite having had the gun pointed at his back, and despite having ample
   opportunities to remove himself from the area.

5. Had QuikTrip become aware of “loitering” prior to the gunshots, it is unlikely that police
   would respond prior to the shooting. Response times to loitering calls are not the
   same as response times to shooting calls.

6. QuikTrip employees responded in a timely manner after the gunshots by calling the
   police.

7. The security posture of the QuikTrip was appropriate in light of the low crime risk.

8. Security at the QuikTrip, or lack thereof, did not cause the subject incident.


PUBLICATONS (10 YEARS)

Vellani, Karim H. (2006). “Strategic Security Management: Risk Assessments in the
Environment of Care.” Journal of Healthcare Protection Management, Volume 22,
Number 2, International Association for Healthcare Security & Safety.

Vellani, Karim H. (2006). Strategic Security Management: A Risk Assessment Guide for
Decision Makers. Woburn: Butterworth-Heinemann.

Vellani, Karim H. (2006). “Crime Analysis” in John J. Fay’s Encyclopedia of Security
Management: Techniques and Technology, 2nd Edition. Woburn: Butterworth-
Heinemann.

Vellani, Karim H. (2007). “The Gentle Art of Threat Assessment.” Journal of Healthcare
Protection Management, Volume 23, Number 1, International Association for Healthcare
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the Environment of Care.” Journal of Healthcare Protection Management, Volume 24,
Number 1, International Association for Healthcare Security & Safety.

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Encyclopedic Reference. Woburn: Butterworth-Heinemann.

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Encyclopedic Reference. Woburn: Butterworth-Heinemann.

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Safety.

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25 Small Steps.”      Karim H. Vellani.      [Center for Problem Oriented Policing
www.popcenter.org].

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Heinemann.

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Journal of Healthcare Protection Management, Volume 27, Number 2, International
Association for Healthcare Security & Safety.

Vellani, Karim H., Robert J. Emery, and Nathan Parker (2012). “Staffing Benchmarks:
How Many Security Officers are Enough?”          Journal of Healthcare Protection
Management, Volume 28, Number 2, International Association for Healthcare Security &
Safety.

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Security and Safety Foundation.

Vellani, Karim H. (2015). Foreword to Michael S. D’Angelo’s From Police to Security
Professional: A Guide to a Successful Career Transition. Boca Raton: CRC Press.

Vellani, Karim H., Robert J. Emery, and Jennifer M. Reingle Gonzalez (2015). “A Data-
Driven Model for Estimating Industry Average Numbers of Hospital Security Staff.”
Journal of Healthcare Protection Management, Volume 31, Number 1, International
Association for Healthcare Security & Safety.

Vellani, Karim H. (2015). “2015 Healthcare Crime Survey.” International Healthcare
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Vellani, Karim H. (2015). “Statistics as a Security Management Tool” in Charles A.
Sennewald’s Effective Security Management, 6th Edition. Woburn: Elsevier.

Vellani, Karim H. (2016). “2016 Healthcare Crime Survey.” International Healthcare
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Healthcare Protection Management, Volume 32, Number 2, International Association for
Healthcare Security & Safety.


TESTIMONIAL HISTORY (4 YEARS)

No. 12-EV-014394G; Rivera v. River Ridge of Canton, LP
State Court of Fulton County, Georgia
December 13, 2013 (Supplemental Deposition)

Case No. 70 160 00245 12; Kimberly Wigant v. Christus Santa Rosa Healthcare
Before the American Arbitration Association
December 23, 2013

Case No. 70 160 00245 12; Kimberly Wigant v. Christus Santa Rosa Healthcare
Before the American Arbitration Association
January 17, 2014 (Arbitration Testimony)

Cause No. 2012-DCL-06098-A; Rodriguez v. SDP Hotel, LLC


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District Court 107th Judicial District, Cameron County, TX
March 7, 2014

File No. 11EV012852B; Wyatt v. First Communities Management, Inc.
State Court of Fulton County, State of Georgia
June 3, 2014

Civil Action File No. 11EV013191B; Tijuana Shambry v. The Laramar Group
State Court of Fulton County
September 4, 2014

Civil Action #80722; Mitchell v. US Security Associates, Inc.
State Court of Bibb County
September 30, 2014

No. 2013-DCL-02461 Madrigal v. The Coca Cola Company, et al
District Court of Cameron County, Texas
12/11/14

Civil Action File No. 14EV002063F; JW v. Ninety-Nine, Investments, Inc.
State Court of Fulton County, State of Georgia
May 21, 2015

Civil Action File No. 14EV002336E; Brown v. Wesley Club, LLC
State Court of Fulton County, State of Georgia
October 19, 2015

Cause No. GN-13-004322; Young v. Greyhound Lines, Inc.
District Court, Travis County, Texas, 345th Judicial District
February 3, 2016

Civil File Action 14A52296E5; Alexis v. Riverstone Residential SE, LLC
State Court of Dekalb County, State of Georgia
March 3, 2016

C.A. No. PC11-6234; Main v. Citizens Financial Group, Inc.
State of Rhode Island
March 11, 2016

Civil Action No. 14A52002-2; Hassen v. Olde Plantation Apartments on Montreal, LLC
In the State Court of DeKalb County, State of Georgia
May 19, 2016

Civil Action No. 13-902875; Hollins v. Mobile Infirmary Association


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Circuit Court of Mobile County, Alabama
July 29, 2016


COMPENSATION

At the time of this report, I been paid $4,000 as a retainer. My time is billed at $400 per
hour.




                                    --- End of Report ---

This report may be supplemented as additional discovery is made available and
other case activity is completed.




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APPENDIX A: Curriculum Vitae of Karim Vellani

Professional Experience Summary
Karim H. Vellani is the President of Threat Analysis Group, LLC, an independent security
consulting firm. Karim is Board Certified in Security Management (CPP), a Board Certified Security
Consultant (CSC), has over 22 years of security management and forensic security consulting
experience, and has a Master’s Degree in Criminal Justice Management. He is the author of two
books, Applied Crime Analysis and Strategic Security Management, and has contributed to a
number of other security related books and journals.

As an independent security management consultant, Karim has been retained by Fortune 500
companies and government agencies. He has extensive experience in risk management and
security force protection and provides consultation on a regular basis at government,
commercial, and residential facilities across the nation. Karim has worked on projects ranging
from data centers, hospitals and healthcare facilities, manufacturing facilities, financial
institutions, retailer stores, shopping centers and malls, hotels and motels, office buildings, and
residential housing (including Section 8).

For 11 years, Karim was responsible for managing the quality control/assurance function for
United States Department of Homeland Security’s (DHS) protection force at federal government
buildings in 23 states including Mississippi, Alabama, West Virginia, California, Montana, North
Dakota, South Dakota, Wyoming, Utah, Nevada, North Carolina, Tennessee, Arizona, Kentucky,
Illinois, Washington, Idaho, Texas, Oklahoma, Florida, South Carolina, Rhode Island, and
Massachusetts.

Karim specializes in crime analysis and security risk assessment and mitigation. He developed a
crime analysis methodology that utilizes the Federal Bureau of Investigation’s (FBI) Uniform
Crime Report coding system and a proprietary software application called CrimeAnalysisTM. The
software allows end users to identify specific threats, select appropriate countermeasures, and
reduce their risk. The methodology was published in Applied Crime Analysis. Since developing
the crime analysis methodology, Karim has assessed crime threats at thousands of facilities.
Karim has also developed a Security Risk Assessment Methodology for Healthcare Facilities and
Hospitals. In 2009, the International Association of Healthcare Security and Safety (IAHSS)
published its Security Risk Assessment Guideline, which was authored by Karim at the request of
IAHSS. He is also a Technical Committee Member on the Risk Assessment Standard Development
Committee for the American Society for Industrial Security - International (ASIS).

Karim also provides forensic security consulting services to insurance companies and the legal
profession. In this work, Karim provides litigation support to attorney’s and serves as an expert
witness in security related lawsuits. As an Adjunct Professor at the University of Houston -
Downtown, Karim taught graduate courses in Security Management and Risk Analysis for the



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College of Criminal Justice’s Security Management Program. He has also trained Police and
Security Officers in weapons and use of deadly force and profiling and assisted in the
development of maritime security training curriculum compliant with ISPS Code and the United
States Coast Guard under the Maritime Transportation Security Act. Annually, Karim instructs
for the International Association of Professional Security Consultants and ASIS-International.

Karim is a member of the International Association for Healthcare Security & Safety (IAHSS), the
International Association of Professional Security Consultants (IAPSC), ASIS-International, the
American Society of Criminology (ASC), and the International Association of Crime Analysts
(IACA). He is a Past President of the IAPSC.


Current Employment

Threat Analysis Group, LLC
President & Independent Security Consultant

      Provide project management services for security deployment, training, engineering and
       design, and assessments

      Provide security management consulting services including risk assessment methodology
       development and execution, threat assessments and crime analysis, vulnerability
       assessments and security surveys

      Responsible for managing the quality control/assurance function for United States
       Department of Homeland Security’s protection force at federal government buildings in
       over ten states

      Provide forensic security consulting and litigation support

      Develop and maintain CrimeAnalysisTM services and software to determine threat level at
       client facilities


Past Employment

University of Houston – Downtown
Adjunct Professor

      Taught graduate courses in Security Management and Risk Analysis for the Security
       Management Master’s Program at the University’s College of Criminal Justice.



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Texas One Security
Operations Manager

      Managed over one hundred security officers and approximately 1400 guard hours at
       seventeen (17) client sites

      Responsibilities included hiring and training, deployment and scheduling, and conducting
       performance evaluations for the company’s security force

      Ensured that the officer’s and the company complied with Texas Private Security Bureau
       rules and regulations.

Operational Support Services, Inc.
Law Enforcement Advisor/Security Consultant

      Provided security consulting services to police departments, private security companies,
       insurance companies, federal and state government agencies, and the legal profession

      Responsibilities included analyzing client’s risk by conducting threat and vulnerability
       assessments

North Harris College
Instructor

      Trained Police and Security Officers in firearms use

      Trained Security Officers on laws, including deadly force and profiling

Roehling Corporate International Investigations, Inc.
Private Investigator

      Provided investigative services to the legal profession, insurance companies, and private
       corporations

      Served on search team for Oklahoma escaped convict Randolph Franklin Dial


Certifications & Licenses

Board Certified Security Consultant (CSC)



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International Association of Professional Security Consultants (IAPSC)

Board Certified in Security Management (CPP)
American Society for Industrial Security - International (ASIS)

Licensed Security Consultant (License No. DD-00882)
Texas Private Security Bureau, Texas Department of Public Safety

Board Certified Protection Officer (CPO)
International Foundation for Protection Officers

Board Certified Police Firearms Instructor
National Rifle Association of America


Education & Training

Bachelor of Science, Criminal Justice (Law Enforcement), Sam Houston State University, August,
1994

Master of Science, Criminal Justice Management, Sam Houston State University, August, 1998

Instructors Course, Texas Commission on Law Enforcement Standards and Education

Certified Protection Officer Course, International Foundation for Protection Officers

Certified Protection Professional Course, American Society for Industrial Security – International

Concealed Handgun Instructor Course, Texas Department of Public Safety

Gang Crimes, Montgomery County Sheriff’s Department

Level One Training, Texas Private Security Bureau

Personal Protection and Home Safety Instructor Course, National Rifle Association of America

Pistol, Rifle and Shotgun Instructor Course, National Rifle Association of America

Police Firearms Instructor Course, National Rifle Association of America




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Identifying and Managing Risky Facilities, International Association of Professional Security
Consultants


Professional Affiliations

American Society of Criminology (ASC)

American Society for Industrial Security - International (ASIS)

International Association of Crime Analysts (IACA)

International Association for Healthcare Security & Safety (IAHSS)

International Association of Professional Security Consultants (IAPSC)


Accomplishments

Chairman, Evidence Based Healthcare Security Research Committee, 2016-2017
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2016 – 2017
International Association of Healthcare Security and Safety Foundation

Technical Committee Member, Private Security Officer (ANSI Standard), 2015 - 2017
American Society for Industrial Security - International (ASIS)

Chairman, Evidence Based Healthcare Security Research Committee, 2015-2016
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2015 – 2016
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2013 - 2015
International Association of Professional Security Consultants (IAPSC)

Technical Committee Member, Risk Assessment (ANSI Standard), 2013 - 2016
American Society for Industrial Security - International (ASIS)

Member, Board of Directors, 2013 – 2014



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International Healthcare Security and Safety Foundation

Member, Forensic Security Committee, 2004 – 2012
International Association of Professional Security Consultants (IAPSC)

Chairman, Council on Advocacy, 2011 - 2012
International Association for Healthcare Security & Safety (IAHSS)

Advisory Member, Security Lighting Guideline (G-1-11), 2011 - 2013
Illuminating Engineering Society of North America (IESNA)

Technical Committee Member, Private Security Company (ANSI Standard), 2012 - 2013
Maturity Model for the Phased Implementation of a Quality Assurance Management System for
Private Security Service Providers (PSC.3) Standard
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Company (ANSI Standard), 2011 - 2012
Conformity Assessment and Auditing Management System for Quality of Private Security
Company Operations (PSC.2) Standard
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Company (ANSI Standard), 2011 – 2012
Management System for Quality of Private Security Company Operations (PSC.1)
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Physical Asset Protection (ANSI Standard), 2011 - 2012
American Society for Industrial Security - International (ASIS)

Member, Board of Directors, 2011 - 2012
International Association of Professional Security Consultants (IAPSC)

Immediate Past President, 2009 - 2011
International Association of Professional Security Consultants (IAPSC)

President, 2008 - 2009
International Association of Professional Security Consultants (IAPSC)

Vice President, 2007 - 2008
International Association of Professional Security Consultants (IAPSC)

Secretary, 2006 - 2007



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International Association of Professional Security Consultants (IAPSC)

Member, Board of Directors, 2004 - 2006
International Association of Professional Security Consultants (IAPSC)

Chairman, Professional Certification Committee, 2004 - 2006
International Association of Professional Security Consultants (IAPSC)

Member, Private Security Services Council, 2005 – 2006
American Society for Industrial Security - International (ASIS)

Chairman, Certifications Committee, 2004 - 2006
American Society for Industrial Security - International (ASIS) - Houston Chapter

Chairman, By-Laws Committee, 2004
International Association of Professional Security Consultants (IAPSC)

Chairman, Certified Protection Professional Committee, 2002 - 2003
American Society for Industrial Security - International (ASIS) - Houston Chapter

Committee Member, Publications Committee, 2001 - 2002
International Association of Crime Analysts (IACA)


Publications & Presentations

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Specific Crime Prevention, Crime Prevention Through Environmental Design, and Violence
Escalation.” Sam Houston State University, Huntsville, Texas.

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Heinemann.

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Security, October 1, 2001.

Vellani, Karim H. (2001). “Rape Zones: Are Some Neighborhoods More Prone To Sexual Assault?”
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and Crisis Management: Theories and Practices, April 8, 2002.

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Seminar, School of Public Health, University of Texas Health Science Center, December 2, 2002.

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Program.” Security Business Practices Reference, Volume 5, ASIS Council on Business Practices,
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Effective Security Management, 4th Edition. Woburn: Butterworth-Heinemann.

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Series, Threat Analysis Group, LLC, 2003.

Vellani, Karim H. (2003). “Security Solutions for Grocery Stores.” Security Solutions Series, Threat
Analysis Group, LLC, 2003.

Vellani, Karim H. (2003). “Security Solutions for Strip Shopping Centers.” Security Solutions
Series, Threat Analysis Group, LLC, 2003.

Vellani, Karim H. (2004). “Achieving Return on Investment from Crime Analysis.” Security
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Reference, Volume 6, ASIS Council on Business Practices, ASIS International.



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International Association of Professional Security Consultants. Dallas, TX, September 25, 2004;
Carefree, AZ, May 7, 2006; San Diego, CA, September 24, 2006.

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and John H. Christman’s Retail Crime, Security, and Loss Prevention: An Encyclopedic Reference.
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John H. Christman’s Retail Crime, Security, and Loss Prevention: An Encyclopedic Reference.
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Association of Healthcare Security and Safety, Toronto, Ontario, May 24, 2011.

Vellani, Karim H. (2011). “Using Crime Analysis to Solve Problems in 15 Small Steps.” Journal of
Healthcare Protection Management, Volume 27, Number 2, International Association for
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Model for Estimating Industry Average Numbers of Hospital Security Staff.” Journal of Healthcare
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Vellani, Karim H. (2016). “The Battle against Violence in U.S. Hospitals.” Journal of Healthcare
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APPENDIX B: Forensic Methodology




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                                                     Best Practices



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The International Association of Professional Security Consultants has issued
this consensus-based and peer-reviewed Best Practice for the guidance of
and voluntary use by businesses and individuals who deal or may deal with
the issues addressed in the context of third-party premises security litigation.




Position Statement                                 Forensic Consultants will, at all times, be
                                                   forthright, honest and precise in evolving
                                                   the ultimate conclusion(s) and opinion(s).
The International Association of Professional
                                                   The opinion(s) will be the result of a
Security Consultants does hereby recog-
                                                   review of all available documentation and
nize that its members will be called upon
                                                   discovery material presented by all parties
to perform as “Forensic Consultants” and
                                                   to the litigation. Site inspections and
serve as Expert Witnesses in a court of law
                                                   analytical procedures generally followed
or other legal proceeding. The purpose of
                                                   by the “Forensic Consultant” are described
these guidelines is to meet the need for
                                                   in these guidelines.
a standardized methodology used in the
evaluation of premises security cases.
                                                   The following methodology is to be used
                                                   in a typical premises security case. The
It is recognized that the task of the Forensic
                                                   Forensic Consultant is expected to exercise
Consultant is one of education. Forensic
                                                   diligence in requesting and/or obtaining
Consultants will provide their opinion(s) to the
                                                   information that the Consultant reasonably
client, to opposing counsel during deposition,
                                                   believes is relevant to the facts and cir-
in response to written interrogatories, in
                                                   cumstances of the case. It is reasonable to
reports, and to the judge and jury at trial or
                                                   expect variations of the steps, with some
any other lawfully convened hearing. This is
                                                   steps deleted and others added as the
done with the goal of making others aware
                                                   facts and circumstances of the case being
of the security issues and contributing to a
                                                   analyzed warrant.
just and proper conclusion of the litigation.

The responsibility of the Forensic Consultant
lies within our system of justice and the
ethics of the security profession. The opinions
so offered are made as an objective expert
witness/consultant, without any financial or
other interest in the outcome of the litigation.



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Evidence Review—                                 Risk Assessment
The Process                                      A risk assessment is the general process of
                                                 identifying and prioritizing risks. It is a quali-
In the context of these Guidelines, the
                                                 tative, quantitative, or hybrid assessment that
Forensic Consultant will review and ana-
                                                 seeks to determine the likelihood that crimi-
lyze various information, whether produced
                                                 nals will successfully exploit a vulnerability or
during the discovery process of the litigation
                                                 compromise a security countermeasure.
or otherwise obtained through research,
common knowledge, investigation, and/or
                                                 There are two main components to a risk
other legal means which allows the Consul-
                                                 assessment: a threat assessment and a
tant to identify factors leading to an under-
                                                 vulnerability assessment. The threat
standing of the crime risks present at the
                                                 assessment is an evaluation of the various
time of the criminal event.
                                                 sources for crime threats. The vulnerability
                                                 assessment, which includes a security
Types of evidence generally available to the
                                                 survey, is an analysis of the weaknesses in
Forensic Consultant include, but are not
                                                 a security program.
limited to, the following:
                                                 The security survey, along with documented
 1. Complaint/Petition
                                                 evidence, is the means by which security
                                                 measures utilized and/or available at the facility
 2. Police Report
                                                 at the time of the incident leading to the
                                                 incident that is the subject of the litigation,
 3.	Site and Immediate Vicinity Crime History
                                                 are identified and analyzed.
 4. Interrogatories and Responses
                                                 A risk assessment provides the foundation for
                                                 effectively implementing countermeasures.
 5.	Requests for Production of
     Documents and Responses

 6.	Requests for Admissions                     Threat Assessment
     and Responses
                                                 A threat assessment is an evaluation of
 7.	Affidavits, Witness Statements              events that can adversely affect operations
     and Interviews                              and/or specific assets. Historical information
                                                 is a primary source for threat assessments,
 8. Depositions                                  including past criminal and terrorist events.
                                                 A comprehensive threat assessment considers
 9. Expert Witness Reports                       actual, inherent, and potential threats.

 10.	Medical Records Relating to                 1. Actual Threats
    the Facts of the Case
                                                      a.	The crime history against an asset or
 11.	Photographs, Video and Audio                       at a facility where the asset is located.
     Recordings, etc.                                    Actual threats are a quantitative
                                                         element of a threat assessment.
 12. Other Related Evidence

                                                                                                      3
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     b.	Relevant crimes on the premises            1. Incident Review
        (three to five years prior to the date of
        the incident)                                  a.	Police incident and investigation
                                                          report
     c.	Relevant crimes in the immediate
        vicinity of the facility (three to five        b. Proprietary incident report
        years prior to the date of the incident)
        as defined by and deemed relevant              c.	Medical records (emergency room
        by the security expert                            and/or autopsy as it relates to infor-
                                                          mation about the occurrence of the
 2. Inherent Threats                                      incident)

 	Threats that exist by virtue of the                d.	Other sources of information about
    inherent nature or characteristics of                 how the incident occurred
    the facility or nature of the operation.
    For example, certain types of facilities        2.	Site Inspection
    or assets may be a crime magnet or
    prone to loss, damage or destruction               Inspect site where the incident occurred
    (e.g., assaults among patrons in night-            and the surrounding relevant area.
    clubs, infant abductions from hospital             (Note: Not all cases will require site
    nurseries, etc.).                                  inspections, nor is it always possible to
                                                       conduct site views—e.g., if the site has
 3. Potential Threats                                  been altered substantially or no longer
                                                       exists.) Further, the facts of some
 	Threats that exist by virtue of vulnera-            cases and potential liability issues are
   bilities around the asset or weaknesses             not related to the site/property layout,
   in the security program which produce               design, or other physical attributes.
   opportunities for crime to occur.                   As such, a site inspection may be
                                                       unnecessary.

Vulnerability Assessment/                              a. Determine layout of the premises

Security Survey                                        b.	Evaluate relevant factors (lighting,
                                                          lines of sight, places of concealment,
The vulnerability assessment is an analysis               remoteness, accessibility, security
of security weaknesses and opportunities                  measures, conditions, etc.)
for criminal activity. A security survey is the
fundamental tool for collecting information            c.	If and when appropriate and as
used in the vulnerability assessment.                     allowed by local rules of evidence,
                                                          interview those with knowledge of
A security survey is a physical survey of the             the incident and/or the premises/
scene of the incident and areas/functions                 surrounding area (this is often covered
that are applicable to the incident to achieve            in depositions, police interviews and
a meaningful understanding of information                 private investigators’ investigations)
that has potential application to the matter
in litigation.                                         d.	Review relevant documentation
                                                          (lease, contract, diagram, map, etc.)

                                                                                                    4
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   e.	Assess the characteristics of the            h.	Review changes to security prior to
      surrounding area                                 the incident

3. Security Personnel                               i.	Evaluate the qualifications and
                                                        experience of security management
   a.	Review security officers’ actions,               and supervisory personnel
      staffing levels, post orders, duty
      hours, equipment provided, tours,         5. Security Equipment
      evaluations, training, hiring
      procedures and supervision                    a.	Review building design and site plans

   b.	Review law enforcement presence              b.	Inspect all security devices related to
      and actions (e.g., on-duty, police               the incident
      details, etc.)
                                                    c.	Inspect all structural security features
   c.	Review roles and actions of non-
      security-related persons who may              d.	Determine the position, function and
      have participated in the security                maintenance status of the relevant
      program and/or incident                          security equipment and features

   d.	Assess the qualifications and perfor-        e.	Determine levels of illumination,
      mance of owner/management person-                if relevant
      nel overseeing the security program

4. Security Program
                                               Analysis and Opinions
   a.	Review security-related policies and
                                               The security expert will determine the level
      procedures
                                               of adequacy of security at the location of
                                               the incident on the date and at the time the
   b.	Review risk assessments performed
                                               incident occurred. This will be based on the
      prior to the date of the incident
                                               information obtained in the previous steps,
                                               and the application of a qualitative analysis
   c.	Review daily activity reports, job
                                               based on experience, education and training.
      descriptions, incident reports and
      internal correspondence
                                               Based upon the analysis, the expert will
                                               reach conclusions on the issues of foresee-
   d. Review security services contract
                                               ability, preventability and causation (i.e.,
                                               terms as used in the security profession).
   e. Review security manuals
                                               At this point the expert has formed opinions
                                               and is prepared to provide a written report,
   f.	Review training manuals and
                                               be deposed and/or testify at trial. Those
       materials
                                               opinions will state the detailed bases for the
                                               findings, including evidence, standards, best
   g.	Interview parties and/or review
                                               practices and guidelines, where applicable.
      depositions regarding employees’
      understanding of their duties, and all
      customs and undocumented practices

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       Case 1:16-cv-02050-MLB Document 28 Filed 11/23/16 Page 35 of 36
                                                                              FORENSIC METHODOLOGY


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Best Practice Committee                       Document Revision History
Members                                       Initial Release: June 2000 approved by the
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Norman D. Bates, Esq.
                                              annual meeting.
Liability Consultants, Inc.
Committee Chair
                                              Revised: May 2, 2005 with approval by the
                                              IAPSC membership in attendance at the
John Case, CPP
                                              annual meeting.
John Case & Associates
                                              Revised: November 2008 with approval of
James H. Clark, CPP
                                              the Board of Directors
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Lance Foster, CPP, CSC
                                              Security Committee—minor formatting
Security Associates, Inc.
                                              changes and addition of “Premises Security
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William A. Hawthorne, CPP, CSC
William A. Hawthorne Associates, Inc.
                                              Revised: April 28, 2014 with approval of
                                              IAPSC Forensic Security Committee—addi-
Steve Kaufer, CPP, CSC
                                              tion of language to Actual Crime section:
Inter/Action Associates, Inc.
                                              “Relevant crimes in the immediate vicinity
                                              of the facility (three to five years prior to
Robert Shellow, Ph.D, CSC; Fellow, APA
                                              the date of the incident) as defined by and
IMAR Corporation
                                              deemed relevant by the security expert.”
Ira S. Somerson, BCFE, CPP, CSC
Loss Management Consultants, Inc.
                                              Founded in 1984, the International Associ-
Karim Vellani, CPP, CSC
                                              ation of Professional Security Consultants
Threat Analysis Group, LLC
                                              (IAPSC) is a widely recognized and respect-
                                              ed association committed to establishing
Ralph W. Witherspoon, CPP, CSC
                                              and maintaining the highest standards for
Witherspoon Security Consulting
                                              security consultants in the industry. IAPSC
                                              members are independent, non-product
Alan W. Zajic, CPP, CSP
                                              affiliated consultants who are required to
AWZ Consulting
                                              meet strict educational, experience, and
                                              practice requirements, ensuring that they
                                              uphold the IAPSC code for professionalism
Cases Citing Methodology                      and ethical conduct. For more information,
                                              to find an IAPSC security consultant, or to
Childress v Kentucky Oaks Mall, 2007 WL       become a member of the association, visit
2772299 (W.D. KY) 2007                        www.iapsc.org.
Reinaldo Robles Del Valle, et al v Vornado
Realty Trust, 06-1818 US Dist. Crt., Puerto
Rico, 2009

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